  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 1 of 21 PageID #:63




Exhibit D –First Baptist Church v. Kelly, No. 10-1102 (D. Kan.,
                        April 18, 2020)
On Fire ChristianCase
                  Center, Inc. v. Fischer et al                                                                         Doc. 6
                       3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 1 of 20 PageID #: 62
                  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 2 of 21 PageID #:64



                                           UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF KENTUCKY


             ON FIRE CHRISTIAN CENTER, INC.                                                          PLAINTIFF



             v.                                                        CIVIL ACTION NO. 3:20-CV-264-JRW



             GREG FISCHER, et al.                                                                DEFENDANTS

                                          TEMPORARY RESTRAINING ORDER

                      1.      The Court GRANTS the motion for a temporary restraining order filed by On Fire

             Christian Center, Inc. (“On Fire”) against Mayor Greg Fischer and the City of Louisville (together,

             “Louisville”).

                      2.      The Court ENTERS this Temporary Restraining Order on Saturday, April 11, 2020

             at 2:00 P.M.1

                      3.      The Court ENJOINS Louisville from enforcing; attempting to enforce; threatening

             to enforce; or otherwise requiring compliance with any prohibition on drive-in church services at

             On Fire.2

                      4.      Unless the Court enters this Temporary Restraining Order, the members of On Fire

             will suffer irreparable harm.3 The government plans to substantially burden their religious practice

             on one of the most important holidays of the Christian calendar, Easter Sunday.4




             1
               Fed. R. Civ. P. 65(b)(2).
             2
               As a general rule, a court’s injunction “should be no more burdensome to the defendant than
             necessary to provide complete relief to the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702
             (1979). But Louisville ought not to view the limits of this injunction as a green light to violate the
             religious liberty of non-parties. Cf. 42 U.S.C. § 1983.
             3
               Id.
             4
               DN 1 ¶ 13.
                                                               1


                                                                                                             Dockets.Justia.com
    Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 2 of 20 PageID #: 63
     Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 3 of 21 PageID #:65




        5.     Notice to Louisville before entering this Temporary Restraining Order isn’t

necessary.5 The facts in On Fire’s affidavit “clearly show that immediate and irreparable injury,

loss, or damage will result to [On Fire] before [Louisville] may be heard in opposition.”6 J.

Brooken Smith, On Fire’s lawyer, certified that he sent Louisville a letter yesterday detailing their

potential claims but didn’t hear anything back.7

        6.     The Court issued this Temporary Restraining Order without notice because Easter

Sunday is less than one day away.8 Providing notice to Louisville before entering this Temporary

Restraining Order would be impractical in such a short period of time.

        7.     On Fire does not need to post a security because enjoining Louisville from

prohibiting drive-in church services at On Fire doesn’t interfere with Louisville’s rights.9

        8.     The Court GRANTS On Fire’s request for Oral Argument. The Court will hold a

telephonic hearing on the preliminary injunction motion on April 14, 2020 at 11:00 A.M. Counsel

shall email Ms. Megan Jackson at Megan_Jackson@kywd.uscourts.gov for the hearing’s call-in

number and access code. Members of the public interested in listening to the hearing may also

email Ms. Jackson.

        9.     The Court ORDERS On Fire’s lawyers to serve a copy of this Temporary

Restraining Order and Opinion on Mike O’Connell, Jefferson County Attorney.




5
  Fed. R. Civ. P. 65(b)(1).                                               4/11/2020
6
  Fed. R. Civ. P. 65(b)(1)(A).
7
  Fed. R. Civ. P. 65(b)(1)(B); DN 3-1 #43.
8
  Fed. R. Civ. P. 65(b)(2).
9
  Fed. R. Civ. P. 65(c).
                                                   2
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 3 of 20 PageID #: 64
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 4 of 21 PageID #:66




                                   MEMORANDUM OPINION
         On Holy Thursday, an American mayor criminalized the communal celebration of Easter.

         That sentence is one that this Court never expected to see outside the pages of a dystopian

novel, or perhaps the pages of The Onion. But two days ago, citing the need for social distancing

during the current pandemic, Louisville’s Mayor Greg Fischer ordered Christians not to attend

Sunday services, even if they remained in their cars to worship – and even though it’s Easter.

         The Mayor’s decision is stunning.

         And it is, “beyond all reason,” unconstitutional.10

                                           *      *       *

         According to St. Paul, the first pilgrim was Abel. With Enoch, Noah, Abraham, Isaac,

Jacob, and Sara, they “died in faith, not having received the promises” of God’s promised

kingdom.11 But they saw “them afar off, and were persuaded of them, and embraced them, and

confessed that they were strangers and pilgrims on the earth.”12

         The Plymouth Colony’s second Governor, William Bradford, alluded to St. Paul’s pilgrims

when he recalled, years later, his fellow colonists’ departure from England. The land they were

leaving was comfortable and familiar. The ocean before them was, for them, unknown and

dangerous. So too was the New World, where half would not survive the first winter. 13 There




10
   Cf. Jacobson v. Massachusetts, 197 U.S. 11, 31 (1905).
11
   Hebrews 11:13.
12
   Id.
13
   Patricia Deetz and James Deetz, Mayflower Passenger Deaths, 1620-1621, THE PLYMOUTH
COLONY              ARCHIVE            PROJECT            (Dec.      14,         2007),
http://www.histarch.illinois.edu/plymouth/Maydeaths.html.
                                                  3
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 4 of 20 PageID #: 65
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 5 of 21 PageID #:67




were “mutual embraces and many tears,” as they said farewell to sons, daughters, mothers, and

fathers, too young or old or fearful or frail to leave the Old World.14

         But they sailed west because west was where they would find what they wanted most, what

they needed most: the liberty to worship God according to their conscience. “They knew they

were pilgrims,” wrote Bradford, “and looked not much on those things” left behind, “but lifted

their eyes to heaven, their dearest country and quieted their spirits.”15

         The Pilgrims were heirs to a long line of persecuted Christians, including some punished

with prison or worse for the crime of celebrating Easter16 – and an even longer line of persecuted

peoples of more ancient faiths.17 And although their notions of tolerance left more than a little to

be desired,18 the Pilgrims understood at least this much: No place, not even the unknown, is worse

than any place whose state forbids the exercise of your sincerely held religious beliefs.

         The Pilgrims’ history of fleeing religious persecution was just one of the many “historical

instances of religious persecution and intolerance that gave concern to those who drafted the Free




14
    WILLIAM BRADFORD, HISTORY OF PLYMOUTH COLONY 60 (Charles Deane, 1948)
https://www.google.com/books/edition/History_of_Plymouth_Plantation/tYecOAN1cwwC?hl=e
n&gbpv=1&dq=inauthor:%22WILLIAM+BRADFORD%22&printsec=frontcover.
15
   Id. at 59 (modernized).
16
                Tacitus’            Annals            15:44,             available             at
http://www.perseus.tufts.edu/hopper/text?doc=Tac.+Ann.+15.44&redirect=true.
17
   See, e.g., Exodus 1:11-18.
18
   Nathaniel Philbrick, Mayflower 177 (2006) (“It was the Puritans who led the way in
persecuting the Quakers, but the Pilgrims were more than willing to follow along. As a Quaker
sympathizer acidly wrote, the ‘Plymouth-saddle is on the Bay horse,’ and in 1660 Isaac
Robinson, son of the late pastor John Robinson, was dis-enfranchised for advocating a policy of
moderation to the Quakers.”).
                                                  4
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 5 of 20 PageID #: 66
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 6 of 21 PageID #:68




Exercise Clause” of our Constitution’s First Amendment.”19 It provides, “Congress shall make no

law respecting an establishment of religion, or prohibiting the free exercise thereof . . . .”20

          At the time of that Amendment’s ratification, religious liberty was among the American

experiment’s most audacious guarantees. For millennia, soldiers had fought and killed to impose

their religious doctrine on their neighbors. A century before America’s founding, in Germany

alone, religious conflict took the lives of one out of every five men, women, and children. 21 But

not so in America. “Among the reasons the United States is so open, so tolerant, and so free is

that no person may be restricted or demeaned by government in exercising his or her religion.”22

          Of course, pockets of society have not always lived up to our nation’s ideals. Slave owners

flogged slaves for attending prayer meetings.23 Murderous mobs drove the Latter Day Saints into

Utah.24     Bigotry toward Roman Catholics motivated a majority of states to enact Blaine

Amendments.25 Harvard University created a quota system to admit fewer Jewish students.26 Five



19
   Church of the Lukumi Balalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 532 (1993) (quoting
Bowen v. Roy, 476 U.S. 693, 703 (1986)).
20
   U.S. Const. amend. I; see also, U.S. Const. amend. XIV (“No state shall make or enforce any
law which shall abridge the privileges or immunities of citizens of the United States; nor shall any
state deprive any person of life, liberty, or property, without due process of law; nor deny to any
person within its jurisdiction the equal protection of the laws.”).
21
   Jason Daley, Researchers Catalogue the Grisly Deaths of Soldiers in the Thirty Years’ War,
SMITHSONIANMAG.COM            (Jun.     6,      2017),     https://www.smithsonianmag.com/smart-
news/researchers-catalogue-grisly-deaths-soldiers-thirty-years-war-180963531/.
22
   Burwell v. Hobby Lobby, 573 U.S. 682, 739 (2014) (Kennedy, J., concurring).
23
   Albert J. Raboteau, The Secret Religion of the Slaves: They often risked floggings to worship
God, CHRISTIANITY TODAY https://www.christianitytoday.com/history/issues/issue-33/secret-
religion-of-slaves.html (last accessed Apr. 11, 2020).
24
                   See                 Mormon                    Pioneers,               PIONEERS,
https://www.bbc.co.uk/religion/religions/mormon/history/pioneers_1.shtml. (last accessed Apr.
11, 2020).
25
    See Jane G. Rainey, Blaine Amendments, THE FIRST AMENDMENT ENCYCLOPEDIA,
https://www.mtsu.edu/first-amendment/article/1036/blaine-amendments (last accessed Apr. 11,
2020).
26
    Anti-Semitism in the U.S.: Harvard’s Jewish Problem, JEWISH VIRTUAL LIBRARY,
https://www.jewishvirtuallibrary.org/harvard-s-jewish-problem (last accessed Apr. 11, 2020).
                                                   5
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 6 of 20 PageID #: 67
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 7 of 21 PageID #:69




decades ago, a former member of the racist, anti-Semitic, and anti-Catholic Ku Klux Klan sat on

the Supreme Court.27 And just over three decades ago, another ex-Klansman was the Majority

Leader of the United States Senate.28

         Some of that bigotry was not state-sponsored.         But in recent years, an expanding

government has made the Free Exercise Clause more important than ever. It was not long ago, for

example, that the government told the Supreme Court it can prohibit a church from choosing its

own minister;29 force religious business owners to buy pharmaceuticals they consider abortion-

inducing;30 and conscript nuns to provide birth control.31 Even after the Supreme Court vacated

lower court decisions – by 9-0, 5-4, and 8-0 margins – the Free Exercise Clause remains a too-

often-tested bulwark against discrimination toward people of faith, from religious cakemakers to

religious preschoolers.32

         This state of affairs has severe implications for religious Americans, because “freedom

means that all persons have the right to believe or strive to believe in a divine creator and a divine

law.”33 But its importance extends beyond the liberty to worship. It threatens liberty of all kinds.

That’s because, as de Tocqueville wrote, “religion, which among the Americans never directly




27
   Kat Eschner, This Supreme Court Justice Was a KKK Member, SMITHSONIAN MAG., Feb. 27,
2017      https://www.smithsonianmag.com/smart-news/supreme-court-justice-was-kkk-member-
180962254/ (last accessed Apr. 11, 2020).
28
   Robert C. Byrd, United States Senator, https://www.britannica.com/biography/Robert-C-Byrd
(last accessed Apr. 11, 2020).
29
   See Hosanna Tabor Evangelical Lutheran Church & School v. EEOC, 565 U.S. 171, 185 (2012).
30
   See Hobby Lobby, 573 U.S. at 691.
31
   See Zubic v. Burwell, 136 S.Ct. 1557 (2016).
32
   See Masterpiece Cakeshop Ltd. v. Colorado Human Rights Comm’n, 138 S.Ct. 1719 (2018);
Trinity Lutheran Church v. Comer, 137 S.Ct. 2012 (2017).
33
   573 U.S. at 736 (Kennedy, J., concurring).
                                                  6
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 7 of 20 PageID #: 68
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 8 of 21 PageID #:70




takes part in the government of society, must be considered as the first of their political institutions;

for if it does not give them the taste for liberty, it singularly facilitates use of it.”34

                                             *       *       *

         That brings us to this case. “As we are all painfully aware, our nation faces a public health

emergency caused by the exponential spread of COVID-19, the respiratory disease caused by the

novel coronavirus SARS-CoV-2.”35 Four days ago, defendant Mayor of Louisville Greg Fischer

said it was “with a heavy heart” that he was banning religious services, even if congregants remain

in their cars during the service.36 He asserted, “It’s not really practical or safe to accommodate

drive-up services taking place in our community.”37 Drive-through restaurants and liquor stores

are still open.38

          Two days ago, on Holy Thursday, the Mayor threatened church members and pastors if

they hold a drive-in Easter service:




34
    Alexis De Tocqueville, Democracy in America I at 475, Eduardo Nolla (ed.) & James T.
Schleifer (tr.) (2012); cf., NORTHWEST ORDINANCE 1787 (those elected by our country’s founding
generation believed “religion” to be “necessary to … the happiness of mankind”) available at
https://www.visitthecapitol.gov/exhibitions/artifact/northwest-ordinance-1787 (last accessed Apr.
11, 2020).
35
   In re Abbott, 2020 WL 1685929 *2 (5th Cir. Apr. 7, 2020).
36
   DN 3-4 (Savannah Fadens & Ben Tobin, Church vs. State: Can Kentucky Governments Block
Religious Gatherings Amid COVID-19?, LOUISVILLE COURIER J. (Apr. 9, 2020)
https://www.courier-journal.com/story/news/2020/04/09/coronavirus-kentucky-          can-beshear-
block-religious-gatherings/2972356001/ (last accessed April 9, 2020)).
37
   Id.
38
   Kentucky Attorney General Daniel Cameron has said, “As long as Kentuckians are permitted to
drive through liquor stores, restaurants, and other businesses during the COVID-19 pandemic, the
law requires that they must also be allowed to participate in drive-in church services, consistent
with existing policies to stop the spread of COVID-19.” Otts, Chris. FISCHER: POLICE WILL
COLLECT LICENSE PLATES OF EASTER CHURCHGOERS, WDRB.com, https://www.wdrb.com/in-
depth/fischer-police-will-collect-license-plates-of-easter-churchgoers/article_795c708a-7b6d-
11ea-8e48-d7138b31add7.html (last accessed Apr. 10, 2020).
                                                     7
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 8 of 20 PageID #: 69
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 9 of 21 PageID #:71




            •   “We are not allowing churches to gather either in person or in any kind of drive-

                through capacity.”39

            •   “Ok so, if you are a church or you are a churchgoing member and you do that,

                you’re in violation of the mandate from the governor, you’re in violation of the

                request from my office and city government to not do that.”40

            •   “We’re saying no church worshiping, no drive-throughs.”41

         The same day, the Mayor’s spokesperson said he would use the police to deter and disburse

drive-in religious gatherings: “Louisville Metro Police have been proactive about reaching out to

those we’ve heard about, and discouraging organizers from proceeding.”42 She added, perhaps in

an effort to be less threatening, “This is not a law enforcement matter, it’s a community matter.”43

But the Louisville Metro Police are not Peace Corps volunteers or community organizers; their job

is law enforcement. And the Mayor’s spokesperson backed up the Mayor’s threat to use the police

with a request for “anyone who sees violations from our social distancing guidance to reach out to

311” to inform on their family, friends, and neighbors.44

         Yesterday, on Good Friday, the Mayor’s threats continued:




39
   DN 1 ¶ 27 (quoting Greg Fischer, Daily COVID-19 Briefing By Louisville Mayor Greg Fischer
(Apr. 9, 2020), https://www.wave3.com/2020/04/09/fischer-confirms-new- cases-more-deaths/
(embedded video)).
40
   Id.
41
   Id.
42
   DN 3-4 (Savannah Fadens & Ben Tobin, Church vs. State: Can Kentucky Governments Block
Religious Gatherings Amid COVID-19?, LOUISVILLE COURIER J. (Apr. 9, 2020)
https://www.courier-journal.com/story/news/2020/04/09/coronavirus-kentucky-     can-beshear-
block-religious-gatherings/2972356001/ (last accessed April 9, 2020)).
43
   Id.
44
   Id.; cf. George Orwell, 1984.
                                                 8
     Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 9 of 20 PageID #: 70
      Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 10 of 21 PageID #:72




            •   “In order to save lives, we must not gather in churches, drive-through services,

                family gatherings, social gatherings this weekend.”45

            •   “If there are gatherings on Sunday, Louisville Metro Police Department will be

                there on Sunday handing out information detailing the health risks involved, and I

                have asked LMPD to record license plates of all vehicles in attendance.”46

            •   “We will share that information with our public health department, so they can

                follow up with the individuals that are out in church and gathering in groups, which

                is clearly a very, very unsafe practice.”47

         Today is Holy Saturday. Tomorrow is Easter Sunday. This is for Christians, as Mayor

Fischer has said, “the holiest week of the year.”48

         On Sunday, tomorrow, Plaintiff On Fire Christian Center wishes to hold an Easter service,

as Christians have done for two thousand years. On Fire has planned a drive-in church service in




45
                COVID-19                 Daily                 Briefing,               04-10-2020,
https://www.facebook.com/MayorGregFischer/videos/514408469234775/.
46
   Otts, Chris. FISCHER: POLICE WILL COLLECT LICENSE PLATES OF EASTER CHURCHGOERS,
WDRB.com, https://www.wdrb.com/in-depth/fischer-police-will-collect-license-plates-of-easter-
churchgoers/article_795c708a-7b6d-11ea-8e48-d7138b31add7.html (last accessed Apr. 10,
2020).
47
   Otts, Chris. FISCHER: POLICE WILL COLLECT LICENSE PLATES OF EASTER CHURCHGOERS,
WDRB.com, https://www.wdrb.com/in-depth/fischer-police-will-collect-license-plates-of-easter-
churchgoers/article_795c708a-7b6d-11ea-8e48-d7138b31add7.html (last accessed Apr. 10,
2020); cf. Wheatley, Kevin. PARTICIPANTS IN WEEKEND GATHERINGS MUST SELF-QUARANTINE FOR
2 WEEKS, GOV. BESHEAR SAYS, WDRB.COM, https://www.wdrb.com/news/participants-in-
weekend-gatherings-must-self-quarantine-for-2-weeks-gov-beshear-says/article_01fa77c6-7b72-
11ea-90c7-7747ea013459.html (last accessed Apr. 10, 2020) (“License plate information will be
collected from cars in parking lots by Kentucky State Police and forwarded to local health
departments, who will then present an order to self-quarantine for 14 days at the owners’ homes.”).
48
                COVID-19                 Daily                 Briefing,               04-10-2020,
https://www.facebook.com/MayorGregFischer/videos/514408469234775/
                                                  9
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 10 of 20 PageID #: 71
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 11 of 21 PageID #:73




accordance with the Center for Disease Control’s social distancing guidelines.49 Yesterday, near

the close of business, On Fire filed this suit, including a request for a Temporary Restraining Order.

It has asked the Court to stop defendants Mayor Greg Fischer and Metro Louisville from carrying

out their plan to enforce their interpretation of the Governor’s social distancing order.50

                                          *       *        *

       In reviewing a TRO motion, the Court considers whether:

       1) On Fire has a strong likelihood of success on the merits;

       2) On Fire would suffer irreparable injury without a TRO;

       3) The “balance of the equities” tips in On Fire’s favor; and

       4) “[A]n injunction is in the public interest.”51

On Fire can satisfy all four parts, and it is entitled to a Temporary Restraining Order. The threats

against On Fire by the Mayor and Louisville Metro violate the First Amendment and Kentucky

law.

       I.      On Fire has demonstrated a strong likelihood of success on the merits on its
               two Free Exercise claims and its Kentucky statutory claims.


49
   Centers for Disease Control & Prevention, SOCIAL DISTANCING, QUARANTINE, & ISOLATION,
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html       (last
accessed Apr. 11, 2020).
50
   There is doubt about the meaning of the Governor’s social distancing order. Kentucky Attorney
General Daniel Cameron has said, “As long as Kentuckians are permitted to drive through liquor
stores, restaurants, and other businesses during the COVID-19 pandemic, the law requires that
they must also be allowed to participate in drive-in church services, consistent with existing
policies to stop the spread of COVID-19.” Otts, Chris. FISCHER: POLICE WILL COLLECT LICENSE
PLATES OF EASTER CHURCHGOERS, WDRB.com, https://www.wdrb.com/in-depth/fischer-police-
will-collect-license-plates-of-easter-churchgoers/article_795c708a-7b6d-11ea-8e48-
d7138b31add7.html (last accessed Apr. 10, 2020). But what matters for this case is not what the
Governor has purported to authorize the Mayor and the Louisville Metro Police Department to do;
what matters is what the Mayor and the Police are doing and what state action is imminent. See
Clapper v. ACLU, 568 U.S. 398, 401 (2013).
51
   Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008); see also, Ohio
Republican Party v. Brunner, 543 F.3d 357, 361 (6th Cir. 2008) (the Court considers the same
factors in considering whether to grant a TRO or a preliminary injunction).
                                                 10
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 11 of 20 PageID #: 72
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 12 of 21 PageID #:74




               A. On Fire has demonstrated a strong likelihood of success on its federal and
                  state Free Exercise claims.

        There is no doubt that society has the strongest of interests in curbing the growth of a

deadly disease, which is the interest Mayor Fischer and Metro Louisville (together, “Louisville”)

has asserted when ordering churches and churchgoers to stay home on Easter. “When faced with

a society-threatening epidemic, a state may implement emergency measures that curtail

constitutional rights so long as the measures have at least some ‘real or substantial relation’ to the

public health crisis and are not ‘beyond all question, a plain, palpable invasion of rights secured

by the fundamental law.’”52

       In this case, Louisville is violating the Free Exercise Clause “beyond all question.”53

       To begin, Louisville is substantially burdening On Fire’s sincerely held religious beliefs in

a manner that is not “neutral” between religious and non-religious conduct, with orders and threats

that are not “generally applicable” to both religious and non-religious conduct.54 “The principle

that government, in pursuit of legitimate interests, cannot in a selective manner impose burdens

only on conduct motivated by religious belief is essential to the protection of the rights guaranteed

by the Free Exercise Clause.”55 In Lukumi Babalu, the City of Hialeah’s ban on animal sacrifice

was not “neutral” or “generally applicable” because it banned the Church of Lukumi Babalu’s

ritualistic animal sacrifices while at the same time it did not ban most other kinds of animal killing,

including kosher slaughtering and killing animals for non-religious reasons.56




52
   In re Abbott, 2020 WL 1685929, at *7 (5th Cir. Apr. 7, 2020) (quoting Jacobson, 197 U.S. at
31).
53
   Id.; see also, In re Abbott, No. 20-50296, slip op. at 2-3 (5th Cir. Apr. 10, 2020).
54
   Church of the Lukumi Balalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1990).
55
   Id. at 543.
56
   Id. at 536.
                                                  11
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 12 of 20 PageID #: 73
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 13 of 21 PageID #:75




        Here, Louisville has targeted religious worship by prohibiting drive-in church services,

while not prohibiting a multitude of other non-religious drive-ins and drive-throughs – including,

for example, drive-through liquor stores. Moreover, Louisville has not prohibited parking in

parking lots more broadly – including, again, the parking lots of liquor stores. When Louisville

prohibits religious activity while permitting non-religious activities, its choice “must undergo the

most rigorous of scrutiny.”57 That scrutiny requires Louisville to prove its interest is “compelling”

and its regulation is “narrowly tailored to advance that interest.”58

        Louisville will be (highly) unlikely to make the second of those two showings. To be sure,

Louisville is pursuing a compelling interest of the highest order through its efforts to contain the

current pandemic. But its actions violate the Free Exercise Clause “beyond all question”59 because

they are not even close to being “narrowly tailored to advance that interest.”60 As in Lukumi

Babalu, the government’s “proffered objectives are not pursued with respect to analogous non-

religious conduct, and those interests could be achieved by narrower ordinances that burdened

religion to a far lesser degree.”61

        In other words, Louisville’s actions are “underinclusive” and “overbroad.”62 They’re

underinclusive because they don’t prohibit a host of equally dangerous (or equally harmless)

activities that Louisville has permitted on the basis that they are “essential.” Those “essential”

activities include driving through a liquor store’s pick-up window, parking in a liquor store’s



57
   Id.; see also, id. (“A law that targets religious conduct for distinctive treatment or advances
legitimate governmental interests only against conduct with a religious motivation will survive
strict scrutiny only in rare cases.”).
58
   Id. at 531-32.
59
   In re Abbott, 2020 WL 1685929, at *7 (quoting Jacobson v. Massachusetts, 197 U.S. 11, 31
(1905)); see also In re Abbott, No. 20-50296, slip op. at 2-3 (Apr. 10, 2020 5th Cir.).
60
   494 U.S. at 531-32
61
   Id. at 546.
62
   Id.
                                                 12
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 13 of 20 PageID #: 74
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 14 of 21 PageID #:76




parking lot, or walking into a liquor store where other customers are shopping. The Court does

not mean to impugn the perfectly legal business of selling alcohol, nor the legal and widely enjoyed

activity of drinking it. But if beer is “essential,” so is Easter.

        Louisville’s actions are also overbroad because, at least in this early stage of the litigation,

it appears likely that Louisville’s interest in preventing churchgoers from spreading COVID-19

would be achieved by allowing churchgoers to congregate in their cars as On Fire proposes. On

Fire has committed to practicing social distancing in accordance with CDC guidelines. “Cars will

park six feet apart and all congregants will remain in their cars with windows no more than half

open for the entirety of the service.”63 Its pastor and a videographer will be the only people outside

cars, and they will be at a distance from the cars.64

        Louisville might suggest that On Fire members could participate in an online service and

thus satisfy their longing for communal celebration. But some members may not have access to

online resources. And even if they all did, the Free Exercise Clause protects their right to worship

as their conscience commands them. It is not the role of a court to tell religious believers what is

and isn’t important to their religion, so long as their belief in the religious importance is sincere.

The Free Exercise clause protects sincerely held religious beliefs that are at times not “acceptable,

logical, consistent, or comprehensible to others.”65

        The Court does not doubt that Mayor Fischer can satisfy his sincerely held religious beliefs

by watching a service on the Internet. Millions of Americans will do that this Easter, and the Court

does not doubt that they will be true to their own faiths. Nothing in this Opinion should be read




63
   DN 3-2 ¶ 6.
64
   Id.
65
   508 U.S. at 531 (quoting Thomas v. Review Bd. of Indiana Emp. Sec. Div., 450 U.S. 707, 714
(1981)).
                                                   13
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 14 of 20 PageID #: 75
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 15 of 21 PageID #:77




to impugn the Mayor’s motives or his faith. Indeed, it is obvious he is trying to save lives. But

when considering the rights guaranteed by the Free Exercise Clause, it doesn’t matter that the

government burdening the religious practices of others “consists entirely of the pure-hearted, if the

law it enacts in fact singles out a religious practice for special burdens.”66

       At the same time, the Court does not for a moment doubt that for some believers Easter

means gathering together, if not hand in hand or shoulder to shoulder, then at least car fender to

car fender. Religion is not “some purely personal avocation that can be indulged entirely in secret,

like pornography, in the privacy of one’s room. For most believers, it is not that, and has never

been.”67 Instead, just as many religions reinforce their faith and their bonds with the faithful

through religious assemblies, many Christians take comfort and draw strength from Christ’s

promise that “where two or three are gathered together in My name, there am I in the midst of

them.”68 Indeed, as On Fire points out, “the Greek word translated ‘church’ in our English versions

of the Christian scriptures is the word ‘ekklesia,’ which literally means ‘assembly.’”69

       It is true that On Fire’s church members could believe in everything Easter teaches them

from their homes on Sunday. Soo too could the Pilgrims before they left Europe. But the Pilgrims

demanded more than that. And so too does the Free Exercise Clause. It “guarantees the free

exercise of religion, not just the right to inward belief.”70 That promise is as important for the

minister as for those ministered to, as vital to the shepherd as to the sheep. And it is as necessary

now as when the Mayflower met Plymouth Rock.




66
   508 U.S. at 559 (Scalia, J., concurring).
67
   Lee v. Weisman, 505 U.S. 577, 645 (1992) (Scalia, J., dissenting).
68
   Matthew 18:20.
69
   DN 1 ¶ 14 (quoting A.T. Robertson, A GRAMMAR OF THE GREEK NEW TESTAMENT IN LIGHT OF
HISTORICAL RESEARCH (3d ed. 1919)).
70
   Trinity Lutheran, 137 S.Ct. at 2026 (Gorsuch, J., concurring).
                                                  14
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 15 of 20 PageID #: 76
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 16 of 21 PageID #:78




       Finally, nothing in this legal analysis should be read to imply that the rules of the road in

constitutional law remain rigidly fixed in the time of a national emergency. We know that from

Jacobson v. Massachusetts.71 The COVID-19 pandemic has upended every aspect of our lives:

how we work, how we live, how we celebrate, and how we mourn. We worry about our loved

ones and our nation. We have made tremendous sacrifices. And the Constitution is not “a suicide

pact.”72

       But even under Jacobson, constitutional rights still exist.73 Among them is the freedom to

worship as we choose. The brief history at the outset of this opinion does not even scratch the

surface of religious liberty’s importance to our nation’s story, identity, and Constitution. But

mindful of that importance, the Court believes there is a strong likelihood On Fire will prevail on

the merits of its claim that Louisville may not ban its citizens from worshiping – or, in the relative

safety of their cars, from worshiping together.74

               B. On Fire has also demonstrated a strong likelihood of success on its
                  Kentucky statutory claim.




71
   197 U.S. 11 (1905); see also In re Abbott, 2020 WL 1685929 at *7 (“Jacobson remains good
law.”).
72
   Terminiello v. City of Chicago, 337 U.S. 1, 37 (1949) (Jackson, J., dissenting).
73
   Id. at 31 (emergency does not permit “beyond all question, a plain, palpable invasion of rights
secured by the fundamental law”); cf. at 27 (… “an acknowledged power of a local community to
protect itself against an epidemic threatening the safety of all might be exercised in particular
circumstances and in reference to particular persons in such an arbitrary, unreasonable manner,
or might go so far beyond what was reasonably required for the safety of the public, as to authorize
or compel the courts to interfere for the protection of such persons.”) (emphasis added); id. at 38
(“…the police power of a state, whether exercised directly by the legislature, or by a local body
acting under its authority, may be exerted in such circumstances, or by regulations so arbitrary
and oppressive in particular cases, as to justify the interference of the courts to prevent wrong and
oppression.”) (emphasis added).
74
   Since the Kentucky Supreme Court has held that the right to worship in its state Constitution is
“in line with United States Supreme Court precedent” on the federal Free Exercise Clause,
Louisville’s ban is unconstitutional under state law, too. Gingerich v. Commonwealth, 382 S.W.3d
835, 844 (Ky. 2012).
                                                 15
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 16 of 20 PageID #: 77
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 17 of 21 PageID #:79




        Kentucky’s Religious Freedom Restoration Act prohibits Louisville from “substantially

burden[ing] a person’s freedom of religion.”75 Louisville must prove “by clear and convincing

evidence that [they have] a compelling interest in infringing the specific act [and have] used the

least restrictive means to further that interest.”76 As was true for non-neutral laws targeting

religion, “judges in RFRA cases may question only the sincerity of a plaintiff’s religious belief,

not the correctness or reasonableness of that religious belief.”77 And as with the strict scrutiny

analysis in the constitutional context, to survive under RFRA the government must “show[] that it

lacks other means of achieving its desired goal without imposing a substantial burden on the

exercise of religion by the objecting parties in these cases.”78 And as above, banning drive-in

church services isn’t the least restrictive means to advance Louisville’s interest in preventing the

spread of coronavirus. Moreover, if sitting in cars did pose a significant danger of spreading the

virus, Louisville would close all drive-throughs and parking lots that are not related to maintaining

public health, which they haven’t done.79

        Given the strong likelihood On Fire will succeed on its religious liberty claims, there is no

need to address whether it will also succeed on its freedom-of-assembly claim.




75
   Ky. Rev. Stat. § 446.350.
76
   Id.
77
   Priests for Life v. HHS, 808 F.3d 1, 17 (D.C. Cir. 2015) (Kavanaugh, J., dissenting from denial
of reh’g en banc) (citing Hobby Lobby, 134 S.Ct. at 2774 n.28, 2777-79; Thomas, 450 U.S. at 714-
16), vac’d by Zubik v. Burwell, 136 S.Ct. 1557 (2016)); see also Hobby Lobby, 573 U.S. at 725
(“it is not for us to say that their religious beliefs are mistaken or insubstantial. Instead, our ‘narrow
function … in this context is to determine’ whether the line drawn reflects ‘an honest conviction’
….”) (quoting Thomas, 450 U.S. at 716).
78
   Hobby Lobby, 573 U.S. at 727.
79
   In the interest of moving on from the Court’s example of liquor stores that are open, the Court
takes judicial notice that ice cream shops (and their parking lots) are still open – to the relief of
every sweet tooth in the city.
                                                   16
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 17 of 20 PageID #: 78
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 18 of 21 PageID #:80




        II.    On Fire would suffer irreparable injury without a TRO.

        “Our frequently reiterated standard requires plaintiffs seeking preliminary relief to

demonstrate that irreparable injury is likely in the absence of an injunction.”80 Here, that is not

difficult. Protecting religious freedom was a vital part of our nation’s founding, and it remains

crucial today. “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”81

        For Christians, there is nothing minimal about celebrating Easter, the holiest day in the

Christian calendar. And for the reasons explained above, the Court does not doubt that for them,

an online substitute for an in-person, in-the-car celebration is no substitute at all. On Fire “and its

members have a sincerely held religious belief that physical corporate gathering of believers each

Sunday, especially on Easter Sunday, is a central element of religious worship commanded by the

Lord.”82 Having to skip Easter Sunday would substantially burden On Fire’s members’ religious

practice.83

        III.   The balance of the equities tips in On Fire’s favor.

        If the Court did not immediately intervene and stop Louisville’s enforcement plan,

churchgoers at On Fire would face an impossible choice: skip Easter Sunday service, in violation

of their sincere religious beliefs, or risk arrest, mandatory quarantine, or some other enforcement

action for practicing those sincere religious beliefs. Unless a government action is far more

narrowly tailored to a compelling government interest than is Louisville’s, that is a choice no one




80
   Winter, 555 U.S. at 375.
81
   Elrod v. Burns, 427 U.S. 347, 373 (1976); see also Newsom v. Norris, 888 F.2d 371, 378 (6th
Cir. 1989) (“The Supreme Court has unequivocally admonished that even minimal infringement
upon First Amendment values constitutes irreparable injury sufficient to justify injunctive relief.”).
82
   DN 3-2 ¶ 7.
83
   DN 3-2 ¶ 11.
                                                  17
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 18 of 20 PageID #: 79
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 19 of 21 PageID #:81




in our nation should ever have to face. Conversely, because Louisville allows other, non-religious

and no-more-essential parking and drive-throughs, there is not yet any evidence in the record that

stopping Louisville from enforcing its unconstitutional order will do it any harm.

         IV.     A TRO is in the public interest.

         In considering whether a TRO is in the public interest, “a court must at the very least weigh

the potential injury to the public health when it considers enjoining state officers from enforcing

emergency public health laws.”84 The Court has considered that question above. With the limited

record before the Court, it is unclear how a gathering of cars in a parking lot is a danger to public

health. Admittedly, the record as it stands is sparse and one-sided. But in that limited record, there

isn’t any evidence that On Fire’s parking lot will prove more dangerous than the countless other

parking lots that remain open. Nor is there any evidence that churches are less essential than every

other business that is currently allowed to be open – liquor stores among them.

         Moreover, whereas the public may have no interest in Louisville’s overbroad ban on drive-

in church services, the public has a profound interest in men and women of faith worshiping

together this Easter in a manner consistent with their conscience. You do not have to share On

Fire’s faith to believe that celebrating that faith – while gathered together in praise of the One they

believe healed the sick and conquered death – will bring hope to many in need of hope this Holy

Week.

                                           *      *       *

         There is no instruction book for a pandemic. The threat evolves. Experts reevaluate. And

government officials make the best calls they can, based on the best information they have.




84
     In re Abbott, 2020 WL 1685929 *12 (5th Cir. Apr. 7, 2020).
                                                  18
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 19 of 20 PageID #: 80
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 20 of 21 PageID #:82




       Sometimes those government officials will disagree. The Mayor of Louisville, in this case,

wants to save lives. The state Attorney General, to pick one example of an official who disagrees

with the Mayor, surely shares the Mayor’s concern for the public’s health. Neither has faced this

situation before. We all hope that we will never have to face anything like this again. And neither

leader, the Court feels confident, is acting with malice toward the physical or spiritual health of

On Fire’s congregation.

       Some who read this Court’s opinion will disagree with the Mayor. Others will disagree

with the Court. And each camp will include some readers who share On Fire’s faith, others whose

conscience calls them to a different faith, and still others who profess no faith at all. Each of them,

believers and non-believers, deserves at least this from the Court: To know why I decided as I did.

You may not agree with my reasons, but my role as a judge is to explain, to teach, and perhaps, at

least on occasion, to persuade.

       The Christians of On Fire, however, owe no one an explanation for why they will gather

together this Easter Sunday to celebrate what they believe to be a miracle and a mystery. True,

they can attempt to explain it. True, they can try to teach. But to the nonbeliever, the Passion of

Jesus – the betrayals, the torture, the state-sponsored murder of God’s only Son, and the empty

tomb on the third day – makes no sense at all. And even to the believer, or at least to some of

them, it can be incomprehensible as well.

       But for the men and women of On Fire, Christ’s sacrifice isn’t about the logic of this world.

Nor is their Easter Sunday celebration. The reason they will be there for each other and their Lord




                                                  19
 Case 3:20-cv-00264-JRW Document 6 Filed 04/11/20 Page 20 of 20 PageID #: 81
  Case: 3:20-cv-50153 Document #: 1-4 Filed: 04/30/20 Page 21 of 21 PageID #:83




is the reason they believe He was and is there for us. For them, for all believers, “it isn’t a matter

of reason; finally, it’s a matter of love.”85 86




                                                                      4/11/2020




85
     Robert Bolt, A Man for All Seasons 141.
86
     JRW, SDR, & PBB.
                                                   20
